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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION



 ELIXIR THERAPEUTICS, LLC, a Wyoming
 limited liability company,

                   Plaintiff,                                 Case No. 3:20-cv-2055-YY

        v.                                                    AMENDED OPINION AND
                                                              ORDER
 GLOBAL INNOVATIVE CONCEPTS, LLC, an
 Alabama limited liability company,

                   Defendant.


       On August 24, 2022, the court held a hearing on defendant’s Motion for Partial Summary

Judgment (ECF 62). As explained on the record, defendant’s motion is denied as to Count I of

defendant’s counterclaim for breach of contract to the extent defendant alleges a contract was

created through the parties’ communications prior to the finalization of the written Compensation

Agreement. However, the motion is granted as to Count I in that the court finds the written

Compensation Agreement was a binding, valid, and enforceable contract, as plaintiff now

concedes. See Answer, Ex. 1, ECF 1-1; Resp. 5, ECF 72. Moreover, based on the

uncontroverted evidence in the record, plaintiff is in breach of the written Compensation

Agreement. Regarding the extent of the breach, the parties agree on some things, but not on

others, as discussed below.



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       At the hearing, the parties agreed that defendant is entitled to a 50% share of gross sales

proceeds after the costs that are set forth in paragraph two of the Compensation Agreement are

deducted. They also agreed that mask costs equaled $1,300,000 and hazmat suit costs equaled

$1,497,570. Additionally, since the hearing, the parties have stipulated that “costs and

adjustments” for (1) “Shipping Reimbursement”; (2) “Trucking/Shipping”; (3)

“Repackaging/Insurance”; (4) “Commission: PG”; (5) “Commission: JF”; and (6)

“Legal/Accounting” total $271,293. Stamm Letter (September 13, 2022); see Stamm Decl., Ex.

E, ECF 63-5. When these costs are deducted from the $6,200,000 in gross earnings, defendant’s

50% share of sales proceeds would be $1,565,568.50.

       However, plaintiff also contends that a “capital stack fee” of $150,000 and “capital stack

participation” cut of 50% ($1,626,215) (totaling $1,776,215 1) are costs that must be deducted

before defendant is paid its 50% share of sales proceeds. Plaintiff argues that such costs are

covered by the Compensation Agreement, which allows for the “costs of customary purchase

order financing or reasonable financial costs associated with fulfilling a purchase order . . . and

other ancillary costs related to performing and completing a Sales Transaction.” Resp. 7, ECF

72; see Answer, Ex. 1, ECF 1-1.




1
  The sales to Georgia totaled $6,200,000. When the costs of the masks ($1,300,000) and hazmat
suits ($1,497,570) are deducted, the remaining gross sales proceeds equals $3,402,430. Plaintiff
claims that a capital stack fee of $150,000 and 50% cut of the remaining profits as a capital
participation fee must be deducted as costs. When combined, the $150,000 (the capital stack fee)
plus $1,626,215 (the capital participation fee, equal to half of the remaining profits after the
capital stack fee is deducted) total $1,776,215.
        This calculation uses a different capital stack participation fee than the $1,496,593
reflected in the spreadsheet produced by plaintiff. See Stamm Decl., Ex. E, ECF 63-5. That
calculation was based on costs for product that has seen been revised. But whether the capital
stack participation fee is $1,496,593 or $1,696,215 does not affect the analysis.



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       In his declaration, Martin Hudler, the “manager and ‘Managing Director’” of Elixir,

attests that Cavalini, a mask supplier, “demanded that $1,000,000 be placed in escrow as

surety/guaranty for the masks being sold on credit in the event the State of Georgia rejected the

masks and or the hazmat suits we were to supply.” Hudler Decl. ¶¶ 1, 7, ECF 73. 2 Hudler

worked with his ex-father-in-law to satisfy the financial requirements for this escrow demand,

which he claims entailed a large amount of risk for himself and his ex-father-in-law. Id. ¶ 9.

Hudler explains that if the purchase order was somehow defective or Georgia failed to timely

pay or rejected the goods, which had happened previously in an order with another state, the

supplier would have been able to demand payment from the escrow account, and Hudler and his

father would have been “left holding the bag.” Id. Thus, Hudler asserts, he “caused Elixir to

agree to pay capital fees” in the amount of 50% of the gross profits “as compensation for the . . .

added financial risk involved.” Id. It is Hudler’s “understanding that such a fee was normal and

customary for financing purchase orders when the pandemic was in full swing, as [he] had

worked with other purchase order financiers in the past, and . . . had been subjected to such

rates.” Id.

       Hudler’s testimony is corroborated to some extent by a document titled “Escrow

Instructions of Escrow Agent | Instructions for Deposit and Disbursement,” referred to internally

as an “agreement,” which was signed by Hudler (on behalf of Elixir) and Cavalini on April 15-

16, 2020. Hudler Decl., Ex. 3, ECF 73. This document reflects that $1,000,000 was placed in

escrow as a surety/guaranty, as Hudler attests in his declaration:




2
 See also Stamm Decl., Ex. D, ECF 63-4 (plaintiff’s Amended Responses to Defendant’s
Second Set of Interrogatories, indicating masks and hazmat suits for the Georgia transaction
were supplied by Cavalini and Red Rock Sourcing, LLC); id., Ex. F (wire transfers to Cavalini
and Red Rock on April 2020).


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               The Escrow has been opened with G&A and Client agrees to deposit via
       wire transfer One Million Dollars USD ($1,0000,000.) (the “Deposit”) into the
       Escrow as surety/guaranty for Cavalini, Inc., a California corporation (“Cavalini”)
       for extending credit to Client by way of allowing Client to ship 2 million 3 PLY
       Particulate Respirator Masks (the “Product”) to the State of Georgia and more
       particularly to the Georgia Emergency Management Agency (“GEMA”) without
       first paying Cavalini in full for the Product.
               Cavalini has agreed to ship the Product to the State of Georgia pursuant to
       that certain purchase order 42200-GEM-0000050317 (the “PO”) issued to the
       Client (See Exhibit 1).
               Client agrees to fund the Escrow with the Deposit prior to the Product
       being shipped to GEMA as a surety/guaranty of payment to Cavalini in the event
       of a default whereby GEMA fails to accept the Product or pay in full the PO.

Id. at 1. The record also indicates that plaintiff thereafter made sizable monetary wire transfers

to Cavalini in late April 2020, see Stamm Decl., Ex. F, ECF 63-6, and that Georgia received and

paid for the products by May 11, 2020. See Kilgore Decl. ¶¶ 45-46, ECF 64; Stamm Decl., Ex.

3, ECF 63-3.

       Under the Compensation Agreement, the capital stack fee and capital stack participation

cut could be classified as “ancillary costs related to performing and completing a Sales

Transaction,” if not also a “financial cost associated with filling a purchase order.” See Answer,

Ex. 1, ECF 1-1. Moreover, a reasonable trier of fact could conclude that it was customary and

reasonable for plaintiff to incur some cost to front the $1,000,000 surety/guaranty necessary to

complete the Georgia sale. As Hudler noted in an April 8, 2020 email, “capital isn’t free

unfortunately.” 3 Stamm Decl., Ex. F, ECF 64-6.

       Defendant notes that the Compensation Agreement only allows for the deduction of costs

“to the extent incurred,” and argues that the “capital stack fee” and “capital stack participation”




3
  In that email, Hudler appears to be referring to a $.05 fee on each piece (i.e., 2,000,000 masks
and 200,000 hazmat suits). But even that fee, which amounts to $110,000, comes nowhere near
the combined capital stack fee and capital stack participation fee of $1,776,215 that plaintiff now
claims are costs.


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cut were not incurred because Hudler and his father-in-law never actually received these fees.

But Hudler testified that “[i]t was paid out partially” (although “not entirely”). Hudler Dep.

117:8-10, ECF 78-3. If plaintiff had a valid agreement with Hudler and his father-in-law to pay

fees associated with fronting the surety/guaranty, then any unpaid amount that is still owing is

analogous to an unpaid bill or debt for which plaintiff remains liable (e.g., an outstanding

shipping invoice) and which constitutes a deductible cost, if permitted under the terms of the

Compensation Agreement.

       But, again, before any costs may be deducted, plaintiff must establish that the amount is

customary and reasonable. On this record, there are serious questions regarding the

reasonableness of the amounts requested for the capital stack fee and capital stack participation

cut. In total, plaintiff claims that Hudler was to be compensated a $1,776,215 return on his

$1,000,000 surety/guaranty. Even when broken down, the amounts do not appear any more

reasonable. At $150,000, the capital stack fee amounts to a 15% fee for posting a $1,000,000

surety/guaranty for a period of only one month. And even considering the $6,200,000 in sales to

Georgia, the capital stack compensation cut of $1,626,215 constitutes over 25% of that amount.

Hudler’s explanation for why such exorbitant fees are customary and reasonable is sparse—he

does not explain the terms “capital stack fee” or “capital stack participation” or how such

extraordinary amounts of compensation are customary and reasonable, other than to state that a

fee of 50% of gross profits was “normal” and he had been subjected to such rates in other

unspecified instances. Further, the Compensation Agreement contains no mention that Hudler,

who owns a financial interest in plaintiff, see Hudler Decl. ¶ 1, ECF 73, would receive such a

large additional percentage share of the sale proceeds, on top of the 50% that plaintiff was

already receiving under the contract.




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       Nevertheless, disputed questions of material fact remain as to whether the capital stack

fees and capital stack participation cut constitute customary and reasonable costs permitted under

the Compensation Agreement and, if so, what constitutes a customary and reasonable amount.

While defendant has moved for summary judgment on its counterclaim for breach of contract,

plaintiff’s Complaint contains an outstanding claim for “[e]ntry of a judgment declaring the

amount of money owed, if any and to whom, as between Elixir and Global,” Compl. 3, ECF 2-1,

and, on this issue, that remains to be determined at trial.

       Defendant also moves for summary judgment on its alternative counterclaims for

quantum meruit and unjust enrichment; however, defendant agrees that this portion of its motion

is now moot in light of the court’s ruling as to the existence of the Compensation Agreement. 4

As for defendant’s motion for summary judgment on Count II of its counterclaims (Alabama

Sales Representative Statute), the court reserves ruling until it hears further from the parties.

       Finally, regarding defendant’s Motion for Attorney’s Fees (ECF 75), plaintiff filed no

response and, at the hearing, confirmed that it had no objections. Therefore, that motion is

granted. Fees and costs in the amount of $71,030.29 are awarded, and this order is immediately

enforceable.

                                              ORDER

       Defendant’s Motion for Partial Summary Judgment (ECF 62) is granted in part and

denied in part, as further explained on the record at the hearing and in this written order.




4
 Defendant’s motion refers to Counts IV and V, but presumably, defendant intended to refer to
Counts V (quantum meruit) and VI (unjust enrichment). See Answer ¶¶ 46-58, ECF 1; Mot.
Summ. J. 1 ¶ 3, ECF 62 (moving for summary judgment on its “unjust enrichment and quantum
meruit” claims). In the Answer, defendant also claims it is “alternatively . . . entitled to recover
under a theory of equitable estoppel,” but the motion for summary judgment appears to be silent
as to that counterclaim.


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Defendant’s Petition for Costs and Attorneys’ Fees (ECF 75) is granted and immediately

enforceable.

       IT IS SO ORDERED.

       DATED September 27, 2022.



                                                                /s/ Youlee Yim You
                                                           Youlee Yim You
                                                           United States Magistrate Judge




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